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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 M.A., an individual,                           )
                                                )
                         Plaintiff,             )       Case No.: 2:19-cv-00849
                                                )
                         v.                     )       JUDGE ALGENON MARBLEY
                                                )
 Wyndham Hotels and Resorts, Inc., et.al.       )       MAGISTRATE JUDGE
                                                )       ELIZABETH PRESTON DEAVERS
                         Defendants.            )

    JOINT MOTION TO SEVER AND DISMISS DEFENDANTS SIX CONTINENTS
            HOTELS, INC., COLUMBUS HOSPITALITY, LLC, AND
               HOLIDAY HOSPITALITY FRANCHISING, LLC

       Pursuant to Fed. R. Civ. P. 21 Plaintiff M.A. (the “Plaintiff”) and Defendants Six

Continents Hotels, Inc., Columbus Hospitality, LLC, and Holiday Hospitality Franchising, LLC

(the “IHG Defendants”) (collectively, the Plaintiff and the IHG Defendants are the “Parties”) move

the Honorable Court to sever Plaintiff’s claims against solely the IHG Defendants and dismiss

such claims with prejudice. Plaintiff and the IHG Defendants stipulate and agree that each party

will bear their own costs.

       Accordingly, the Parties hereby request that the Court sever and dismiss the IHG

Defendants from this matter, with prejudice, pursuant to Federal Rule of Civil Procedure 21. This

dismissal shall not affect the claims asserted by Plaintiff against any other Defendant in this case.

       DATED: December 28, 2022

                                            Respectfully Submitted,

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                                CERTIFICATE OF SERVICE
       I hereby certify that on December 28, 2022, a copy of the foregoing JOINT MOTION TO

SEVER AND DISMISS DEFENDANTS SIX CONTINENTS HOTELS, INC., COLUMBUS

HOSPITALITY, LLC, AND HOLIDAY HOSPITALITY FRANCHISING, LLC was filed

electronically via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent

by operation of the Court’s case management and electronic filing system. Parties may access this

filing through the Court’s case management and electronic filing system.



                                             Respectfully Submitted,

                                             /s/ Steven A. Chang__________________




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